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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SOLDON WINTON                         :             CIVIL ACTION
                                      :
             v.                       :
                                      :
TRANS UNION, LLC, et al.              :              NO. 18-5587


                               MEMORANDUM

Bartle, J.                                             August 26, 2019

          Plaintiff Soldon Winton (“Winton”) commenced this action

for violation of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C.

§§ 1681 et seq., against defendants Trans Union, LLC, Department

Stores National Bank, First Premier Bank (“First Premier”), OneMain

Financial Group, LLC, PAAC Transit Division Federal Credit Union,

Pittsburgh Central Federal Credit Union, Synchrony Bank, and

Citibank, N.A.    We previously granted the motion of First Premier

to compel arbitration and to stay proceedings.       Before the court is

the motion of Winton to require First Premier Bank to initiate

arbitration and to bear all costs of arbitration.

          Arbitration is appropriate “[s]o long as the

prospective litigant effectively may vindicate [his or her]

statutory cause of action in the arbitral forum.”         Gilmer v.

Interstate/Johnson Lane Corp., 500 U.S. 20, 28 (1991) (quoting

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473

U.S. 614, 637 (1985)).     A party may seek to “invalidate an

arbitration agreement on the ground that arbitration would be
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prohibitively expensive.”     Green Tree Fin. Corp. v. Randolph,

531 U.S. 79, 92 (2000).     To do so, a plaintiff must come forward

with evidence to show:     (1) the projected fees that would apply

to the arbitration; and (2) an inability to pay those costs.

Id.; see also Parilla v. IAP Worldwide Servs. VI, Inc., 368 F.3d

269, 283-85 (3d Cir. 2004); Alexander v. Anthony Int’l, L.P.,

341 F.3d 256, 268–69 (3d Cir. 2003).        The party seeking to

invalidate the arbitration agreement bears the burden of showing

that arbitration would be prohibitively expensive.         Green Tree

Fin. Corp., 531 U.S. at 92.

          On April 12, 2019, First Premier moved to compel

arbitration.   In his response in opposition to the motion to

compel, Winton asserted that he could not afford to pay the costs

of arbitration and that First Premier should be ordered to pay

those costs.   However, Winton failed to provide any evidence

regarding his financial situation and the projected arbitration

fees that would apply in his case.       On May 1, 2019, this court

granted the motion of First Premier to compel arbitration.        We

declined to consider Winton’s request in his opposition brief to

require First Premier to initiate arbitration and to bear all costs

of arbitration given that Winton had failed to submit any evidence

to support his position and had failed to file a motion seeking

such relief.   Shortly thereafter, Winton filed the instant motion

to require First Premier to initiate arbitration and to bear all

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costs of arbitration.   In light of this motion, this court

permitted the parties to engage in discovery and to submit

supplemental briefing, pursuant to the Supreme Court’s decision in

Green Tree, regarding the potential costs of arbitration and

Winton’s ability to pay those costs.     Essentially, Winton seeks

reconsideration of our memorandum and order to the extent we

granted the motion to compel arbitration without considering the

projected costs of arbitration and his ability to pay.

           In support of his motion, Winton has submitted an

affidavit stating that his fixed monthly expenditures exceed his

monthly income and thus he has no discretionary income to pay

for the expenses of arbitration.      He reports that he has a

current total monthly income of $3,900, which consists of social

security benefits and a pension.      While he has not provided any

specifics, he states that he has “fixed monthly expenditures” of

$5,998.   Although the affidavit is somewhat conclusory, First

Premier has not challenged this evidence.

           Winton does not seek to invalidate the arbitration

agreement with First Premier on the basis of cost but rather seeks

to compel First Premier to initiate arbitration with the Judicial

Arbitration and Mediation Services, Inc. (“JAMS”) and to require

First Premier to bear all costs of the arbitration, including any

fees and expenses payable to the arbitrator or the arbitration

association as well as his attorneys’ fees and costs.

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           The parties’ arbitration agreement provides in pertinent

part:

           Expenses: Regardless of who demands
           arbitration, we will pay all expenses of
           arbitration, including the filing,
           administrative, hearing and arbitrator’s fees
           (“Arbitration Fees”), to the extent that the
           Arbitration Fees exceed the amounts
           you would be required to pay for filing a
           lawsuit in a court. Throughout the
           arbitration, each party shall bear his or her
           own attorney fees and expenses, such as
           witness and expert witness fees. If you
           prevail in the arbitration of any Claim
           against us, we will reimburse you for any fees
           you paid to the arbitration organization in
           connection with the arbitration.

           * * *

           Arbitration Location and Procedure: Any
           arbitration hearing at which you wish
           to appear will take place at a location within
           the federal judicial district that includes
           your billing address at the time the Claim is
           filed. The party bringing the Claim may file
           its Claim at the American Arbitration
           Association (“AAA”), or an arbitration
           organization mutually agreed upon by the
           parties. . . . If you do not agree to file
           your claim with AAA, and the parties cannot
           agree on an alternative arbitration
           organization, an arbitrator will be appointed
           by a court pursuant to the Federal Arbitration
           Act.

           * * *

           The Arbitrator’s Award: The arbitrator has
           the ability to award to the prevailing party
           all remedies available at common law, by
           statute or in equity, including injunctive
           relief, declaratory relief, arbitration
           costs and attorney fees.


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          We begin with Winton’s request to require First

Premier to arbitrate before JAMS.       As noted above, the

arbitration agreement requires that the parties arbitrate any

claim with AAA unless they mutually agree to another

organization.   First Premier has not agreed to Winton’s request

to arbitrate before JAMS.    Winton has not offered good cause for

his objection to AAA but asserts only that he “prefers JAMS

because the selection of arbitrators to be chosen are of a very

high caliber, including former Federal Judges.”        We decline to

contradict the plain language of the arbitration agreement and

compel the parties to arbitrate this dispute before JAMS when

they have not mutually agreed to do so.

          We next consider Winton’s request to require First

Premier to initiate arbitration and to pay all costs of

arbitration.    Under the arbitration agreement, First Premier is

obligated to pay all arbitration fees to the extent those fees

exceed the fee for filing a complaint in this court, which is

currently set at $400, regardless of which party initiates the

arbitration.    The AAA Consumer Arbitration rules provide that

Winton would pay a $200 filing fee to initiate arbitration,

unless the parties’ agreement provided that he pay less.         See

American Arbitration Association, Consumer Arbitration Rules,

33-36 (Sept. 2018),

https://www.adr.org/sites/default/files/Consumer_Rules_Web_0.pdf

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All other arbitration fees, including case management fees, the

arbitrator’s compensation and expenses, hearing fees, and any

rental fees for hearing rooms would be borne by First Premier.

See id.   If First Premier initiates arbitration, Winton would

pay nothing. 1   See id.   In any event, First Premier has agreed to

pay the entire $200 AAA filing fee should Winton initiate

arbitration.     Thus, Winton will not be responsible for any

arbitration fees regardless of which party initiates the

arbitration and his motion to require First Premier to initiate

arbitration is moot.

           We also reject Winton’s motion to the extent he seeks

to compel First Premier to pay his attorneys’ fees and costs in

arbitration.     The arbitration agreement provides that the

parties will bear their own attorneys’ fees and costs.          However,

the agreement further states that the arbitrator may award to

Winton any remedies available under common law, statute, or at

equity.   The statute under which Winton has brought suit, the



1. In support of his motion, Winton has projected that he would
be required to bear approximately $20,000 to $25,000 in costs
and fees for the arbitration, including $15,000 to $20,000 in
attorneys’ fees, $1,500 in arbitration filing fees, and $5,000
to retain the arbitrator. To substantiate this estimate, Winton
has submitted an affidavit from counsel stating merely that JAMS
requires a $1,500 filing fee for a consumer arbitration and
“further fees based upon the choice of arbitrator.” Moreover,
his estimate regarding his share of arbitration fees is
contradicted by the plain language of the arbitration agreement
and the AAA’s Consumer Arbitration Rules. Accordingly, we will
disregard Winton’s calculation.
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FCRA, states that a court may award to a prevailing plaintiff

the costs of the action together with reasonable attorney’s

fees.   See 15 U.S.C. §§ 1681n & 1681o.       Thus, regardless of

whether Winton’s claims are heard in this court or in

arbitration, he would be required to bear his own attorneys’

fees and costs but may be entitled to recover these expenditures

should he prevail.     We see no basis to rewrite the parties’

agreement and place Winton in a better position than he would

have in the federal court.

           Accordingly, the motion of Winton to require First

Premier to initiate arbitration and to bear all costs of

arbitration is being denied.




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